[Type here]

t Hand-Delivered -

Freda Day
1409 Hill Road, Apt. 6

_ Charlotte, NC 28210
~ Fredadayincorp@yahoo.com

~ 4(Phone) 704-777-5416

UNITED STATES DISTRICT COURT
for the
Western District of North Carolina)

 

FILED
CHARLOTTE, NC

JUN 14 2019

US DISTRICT COURT
WESTERN DISTRICT OF NC

 

 

)
FREDA J. DAY, an individual, ) 3) 19-Cv-aQ77 -oc.

Plaintiff )
-vs- )

)

OPRAH G. WINFREY, an individual, )
HARPO PRODUCTIONS, an Illinois Corp. )
OWN: OPRAH WINFREY NETWORK, _)
LLC, a Delaware Corporation: )

LIONSGATE ENTERTAINMENT )
Corporation, a Canadian corporation; )
CRAIG WRIGHT, an individual )
)

Defendants )
)

)

1

Complaint

—~ Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 1 of 23

 
[Type here]

3

IL INTRODUCTION
In retrospect, to the “me too” movement, Hollywood for decades has victimized the
works of hardworking authors, writers, and creators. Thus has been the case in Oprah’s
Winfrey production of the “Greenleaf” TV series. Those individuals in Hollywood that
are in power, or privy to the industry due to their established statuses have stolen,
misappropriated, and exploited the works of those that have not be fortunate to promote
the industry due to lack of networking ability, money, or prestige.

This is a true depiction hereby Oprah Winfrey, Harpo Productions, Own TV
Network, Tyler Perry Studios, Lionsgate Entertainment, and Craig Wright, who
surreptitiously, and willfully used my creative talent to develop into a major TV series
which has been renewed for a fourth season. The Plaintiff became knowledgeable of the
copyright infringement after previewing the first show, Season I on June 21, 2016 in
Charlotte, North Carolina. The Plaintiffs novel, “From the Greenleaf to Greener
Pastures,” a memoir was poignantly similar and disturbingly identical in some parts.

The “Plaintiffs “novel, “From the Green Leaf to Greener Pastures,” based on the life
experiences of Freda Davidson, was granted copyright protection in “April 3, 2003
(Registration no. TXu001093123.” by the United States Library of Congress. The book
was created in the year, 1999.

 

 

Drinking Gourd Imprints. The publishers/editors named; Frank Krawkowski, Ben Gold

and John Wayne Eastwood; herein, the publishing company was located at 4071 San
Pablo Dam Road, #141, El Sobrante, California 94803. The book was marketed under
several distributions companies such as: Amazon.com, Yahoo.com, Barnes &
Noble.com, Target.com, Tower books, and many other book distributors over the past
decade. The book was sent to Tyler Perry Studios in Atlanta, GA.; Oprah Winfrey
Studios located in Chicago, IL.; in additional to personal distribution to celebrities such
as Ivanka Trump, and “Monique” during an impromptu visit to Charlotte. ,

The plaintiff even created/established her personal webpage entitled, “From the
Greenleaf to Greener Pastures Blog, in which Tyler Perry read, and replied, “good
reading”. The publishers/editors created a CD disk that was submitted to the Plaintiff for
actual review prior to publication. The Defendants in some form/fashion gained actual
access to the CD rom-disk, since essential parts of the original disk were presented in the
Greenleaf Series (1 airing on April 21, 2016). The actions of the Defendants have been
nothing less than surreptitious and defaming.

Thus not only have the Plaintiff been deprived of any compensation,
acknowledgment or credit, but the opportunity to promote the artistic works and talent as
a writer has been subdued, and dismissed as stellar writer for any upcoming
films/notoriety as a best selling author. Bell-Atlantic Corp. V. Twombly, 550 U.S. 433,
555 (2007) “[Flactual allegations must be enough to raise a right to relief above the
speculative level.” The plaintiff presents over (99) specific facts that have been
plagiarized and infer copyright infringement; whereas, the “works” of the author was
being breached upon as illustrated in attached spreadsheet.

3
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 2 of 23

 
[Type here]
4

6. Plaintiff does in fact alleges that Lionsgate, Own Network, Oprah Winfrey
violated any/all exclusive rights Under the Copyright Act. Plaintiff did possess
ownership of a valid copyright in 2003, before publication of the book in 2005. The
defendants willful copying is that, “the works at issue are substantially similar in the
protected elements.” Zella v. E. W. Scripps Co., 529 F. sup. 2d1124, 1132-33 (C.D.
Cal. 2007. Quoting Caviler, 297. F. 3d at 822. The Plaintiff's description, and
exhibits presents a factor of legally cognizable similarity between, “Greenleaf,” and the
book, “From the Greenleaf to Greener Pastures. Ellison vy. Roberson_, 357 F. 3d 1072,
1076 (9" Cir. 2004) to prove a claim of direct copyrightinfringement, a plaintiff must
show that “the defendant himself violated one or more of the plaintiff's exclusive
rights under the CopyrightAct”). Luvdarts, LLC vy. AT & T Mobility, LLC 710F. 3d.
1068, 1071 (9 Cir.2013). to state a claim for vicarious infringement, the plaintiff has
alleged the defendant had both, ‘’’ (1) the right and ability to supervise the infringing
activity’ and (2) “a direct financial interest’ in the activity”.

I. JURISDICTION

7. Jurisdiction is based on federal question pursuant to 28 U.S.C. 1331 and 1338 (a)
arising from the federal court’s original jurisdiction for claims arising under the 1976
Copyright Act, and supplemental subject matter jurisdiction over Plaintiff's state law

 

 

claims pursuant to 28 U. S. C§1367(a).
Ill. PARTIES
8. Plaintiff Freda J. Day (“Plaintiff Day”) is an individual, published author/writer for
nearly 20 years who at all relevant times, herein, has resided in the county of
Mecklenburg, North Carolina. She has been a certified public school teacher for over a
decade.

9. Defendant Oprah G. Winfrey (Defendant Winfrey”), based on national informative
sources and belief, in an individual who, at all relevant times herein, has resided in the
County of Santa Barbara, state of California. Plaintiff Winfrey is a well-renown :
entertainment media name, with a long history of entertainment production, performance E
and distribution. She is an executive producer and co-star of Defendants’ “Greenleaf” |=
her network (Defendant (OWN) is distributing the show, and her production company
for “Greenleaf”.

10. Defendant “HARPO PRODUCTIONS, INC. (“Defendant Harpo”) is an Illinois
Corporation which, at all relevant times herein, was licensed and does business in the
County of Los Angeles, State of California. Defendant Harpo was founded by and is
owned in whole or in part, by CEO Defendant Winfrey, and is credited as production
company for Greenleaf.

11. Defendant “Own: Oprah Winfrey Network, LLC (“Defendant “OWN” ), is a
Delaware limited liability company which , at all relevant times herein, was licensed and
operates business in the County of Los Angeles, State of California. “Defendant OWN” ie
is co-owned by “Defendant Harpo” and distributes Greenleaf. -

12. Defendant LIONSGATE ENTERTAINMENT CORPORATION (“Defendant :
Lionsgate” ) is an American-Canadian corporation, originally formed in Vancouver,

4
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 3 of 23

 

 
[Type here]

5

13.

14.

15.

Canada, and currently publicly traded on the NYSE, and at all relevant times herein has
had offices and conducted business in the County of Los Angeles, State of California.
Defendant Lionsgate produces Greenleaf series.

Defendant, CRAIG WRIGHT, (“Defendant Wright”)is an individual, who at all
relevant times herein, has resided in the County of Los Angeles, State of California.
Defendant is credited as the writer, creator and executive producer of Greenleaf:
Defendant Wright was also a writer, creator and producer of the series, “Lost,” and
HBO’s “Six Feet Under.”

At all mentioned herein, “Plaintiff Day” believe and thereon alleges that other
fictitious defendants, not previously identified by name but designated as affiliates to the
aforementioned Defendants, may be liable or responsible in whole or in part for the
allegations contained herein. Once the true names and capacities of these defendants are
ascertained, Plaintiff will seek leave to amend this Complaint and substitute said true
names and capacities.

At all mentioned, Plaintiff believes and maintains that each of the defendants
named is inclusive, is intentionally negligently or otherwise legally responsible in some
manner, either vicariously or by virtue of his, her or its agents, representatives, servants
or employees, for the acts and occurrences herein referred to, and has presumably caused

 

16.

17.

18.

 

injury or damages thereby to Plaintiff as a result of their conduct hereinafter described.

Plaintiffs are informed and believe and thereon allege that all times, herein
mentioned, the Defendants, and each of them, were the agents, partners, conspirators,
representative, joint ventures and/or employers and with full knowledge and consent of
each other. In so doing, the Defendants, and each of them, acted with the scope of such
relationship or ratified the acts of the others, and jointly and severely liable and such.
Plaintiff further believe and allege that Defendants, and each of them, co-culprits of each
other, aided and abetted the other, and reckless engaged in a unity of interest and
ownership exists between and among Defendants, and that such interests have become
intertwined and non-separable.

IV. FACTUAL INFORMATION

“Greenleaf” series takes viewers into the unscrupulous world of the Greenleaf family
was wealthy, and who lived a life of opulence portrayed in Episode 1. As Grace returns
home to the huge mansion with servants, and other signs of grandiose lifestyle. (5:09)
Greenleaf family and their sprawling Memphis megachurch, where scandalous secrets
and lies are as numerous as the faith. Born of the church, the Greenleaf family love and
care for each other, but beneath the surface lies a den of iniquity, greed, adultery, sibling
rivalry and conflicting values—that threatens to tear apart the very core of their faith that
holds them together.

The pastor-patriarch, Bishop James and Lady Mae (the matriarch). These are the
two characters that attempt to hold the foundation of the family together. Fast forward,
to his daughter, “Grace that returns home, who is better suited to follow in her father’s
pastoral footsteps as opposed to that of his son, Jacob. The Greenleaf family (4 girls)
and family live in an unscrupulous world with their sprawling Memphis megachurch
where scandalous secrets and lies are as numerous as the faith. Born of the church, the

5
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 4 of 23

 

 
[Type here]
6

Greenleaf family love and care for each other, but beneath the surface lies a den of
iniquity(greed, adultery, sibling rivalry and conflicting values, that threaten to tear them
apart, the very core of their faith (God) holds them together.

19. | This synopsis is the direct parallel to the Plaintiff Day’s book in which the synopsis
of the book (illustrations of the Greenleaf café on front cover), in addition, it reads:
Intrigue, disappointment, and self-determination of a woman willing to take on some of
life's most difficult challenges. One of ten children (4 girls), Freda (next to the oldest
sister) finds herself repeating her mother's mistakes. (Owner of Greenleaf restaurant/cafe
is Freda's father, Jasper Lawson (the patriarch/devote Catholic).

20. It author’s memoir depicts scandalous relationships, abortion, debilitating poverty,
Freda’s tumultuous marriage; yet, through it all, she finds the faith to pursue her dreams
by turning to God. The Plaintiff Day’s novel, pg. 2 states, “Being from the south...it was
inevitable that I acquired a strong belief in God, and an acceptance of Jesus Christ. This
is a direct inference to Plaintiff Day’s parallel to the "Green Leaf"(OWN Network) TV
series, and the memoir, "From the Green Leaf to Greener Pastures". Plaintiff Day has
made comparisons in which the creator of the show has taken used same chapter titles to
my book, "From the Greenleaf to Greener Pastures," as well as portrayed them in an
almost identical scriptural format throughout the television series.

 

21. In which Plaintiff Day has written the book in a scriptural format. Also, there are
numerous characters names that are the same, or a few that was changed by just one
letter, such as: "Alex" —vs- Alexa. This is reflected in this Complaint. In accordance,
use of the Greenleaf name that is synonymous with my book. The main character Freda,
life changes has been transformed onto those represented by all of the sisters in the
Greenleaf TV show. The same life occurrences described in the memoir has been
characterized by each one of the Greenleaf sisters.

22. Charity in the 20's while married, is identical to Freda's/Ed’s marital problems in
their twenties. "Grace an aspiring journalist are identical to Freda's aspiration as a
journalist in her younger years. Freda's and Ed’s marital woes in their thirties are
identical those of Charity and Kerrise. Every segment of Freda’s life during her 20's,
30's has been transformed onto the female characters in the television series. Ironically,
Plaintiff Day’s book is a “memoir that mentions God, church, bible, scriptures, and
Satan are exhibited in over (50 %) of its entirety. In the Complaint, facts of plagiarized
information between "Green Leaf"(OWN Network TV series", and Plaintiff's memoir,
"From the Green Leaf to Greener Pastures" are identical and suspicious. Being that no
two human beings (or writers) think alike at the same given moment in time.. Therein,
the Plaintiff contends that the concept and story-line of both shows is very novel and
unique, never before created for television or cinema. As set forth below, any professed
“coincidence” of independent creation is ludicrous, at best.

V. ACCESS

23. The fact that “Oprah Winfrey” was mentioned in “Plaintiff's Day’s book poses
substantial grounds for the reason behind Defendant Wright’s proposal of the idea to
Oprah Winfrey. Prior to the show’s viewing in June, 2016, “Plaintiff Day” had
submitted a copy of the book by certified mail to “Defendant Winfrey” in 2009. Also,

6
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 5 of 23

 

 
[Type here]

7

Plaintiff Day, had submitted her ‘creative works’to over (100) literary/publishers upon
completion. Years later, the book was published in May ’05 by New Age World
Publishing Drinking Gourd Imprints. The publishers/editors named; Frank Krawkowski,
Ben Gold and John Wayne Eastwood; herein, the publishing company was located at
4071 San Pablo Dam Road, #141, El Sobrante, California 94803.

24. The book was marketed under several distribution companies such as:
Amazon.com, Yahoo.com, Barnes & Noble.com, Target.com, Tower books, and many
other book distributors over the past decade. The book was sent to Tyler Perry Studios
in Atlanta, GA.; Oprah Winfrey Studio located in Chicago, IL. “Plaintiff Day” in
additional to personal distribution to celebrities such as Ivanka Trump, and “Monique”
during an impromptu visit to Charlotte. The plaintiff even established a personal page
entitled, “From the Greenleaf to Greener Pastures Blog, in which Tyler Perry read, and
responded, “good reading”. Thus, the close proximity in the working relationship
between Tyler Perry & Defendant “Winfrey” would suggest a reasonable likelihood that
both were aware of Plaintiffs novel, prior to Defendant “Wright’s presentation to Own
Network.

25. Being that Craig Wright has no affiliation growing up or sharing in life
experiences of the African American church culture or community poses substantial

 

 

doubt in his artistic capability to create the storyline for Greenleaf. Plaintiff contends
that the publishing company in California, gave access to the aforementioned
entertainment companies due to the fact that some of the artist’s works (Plaintiff Day”)
was placed on a CD-rom disk. Some of the dialogue, plot, theme, scenario attributable
to the information [pursuant] to the storyline (approximately 150 pages were deleted
from the actual publication of the book); thus, ended up in the Greenleaf TV series. This
is credible, sufficient matter that Defendant’s had direct access to the CD disk prior to
reading the book. Plaintiff Day made several attempt to contact Oprah Winfrey, Own
Network, Harpo Productions through emails, i.e., Twitter, and Facebook. In which,
“Plaintiff Day received no reply or contact from any of the Defendants. Plaintiff Day
also contacted the office studios of “Defendant Winfrey,” and “Tyler Perry” to confirm
receipt of mailed memoir to the studios.

A, Characters with exact names/some similar characters in the “Greenleaf-vs-Book.”

Greenleaf:

(1) Marcus has been portrayed as one of Jacob's guy friends, he wants go on a boy’s trip.
(2)Mr. /Mrs. Williams are Christian mentors for Kerrise/Jacob. She wishes their marriage
was similar to their relationship. (3)Keith David was hired to play the role of "Bishop
James". (4)Eugene is portrayed as the family's chauffer, friend of Grace, former church
member (5) Greg and his wife (swingers) couple up with Jacob/Kerisse, he proposes a new
business proposition. (6) Triumph Church is the church pastored by Bishop Skanks. (7)
Fred is Mr. Williams first name. (8) Robert (Uncle Mac) McCready, (9)) Michaela is the
7
Complaint -

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 6 of 23

 
 

[Type here]
8

young woman that was sexually victimized by Uncle Mac. (10) Michaela vs Mike/Michael.
(11) Henry is the father of Mac/Lady Mae. (12) Ray is Grace's old flame and father of
Sophia. (13) Robert (Uncle Mac) McCready.(14) Adrian is man that runs the homeless
shelter with Kevin, and expresses interest in him. (15)Dan is the engineer friend of Noah
that was invited to the wedding. (17) Carlton is the minister of music. (18) Casey is the
county auditor. (19) Larry wants the office next to Grace, church affiliate. (20) Marvis,
sister to Mac. (21) Trigger Happy David Nelson-Grace's friend, confidant (22) Charity,
Kevin's wife (23) Alexa-has an affair with Jacob. (24) Ms. Kim, member of church/choir.
(25) Lorraine is Mac's girlfriend. (26) Karine is the new church secretary. Lorraine is Mac's
girlfriend. (27) Melisse, church members offered a scholarship to take of nursing school.
(28) Greenleaf-restaurant owned by Marvis.

B. Same/Similar names of characters exhibited in the novel, “From the Greenleaf to Greener
Pastures”

(1) Marcus was a male friend Freda dated that won the Heisman trophy while in college. (2)Mr.
& Mrs. Williams are educators/devote Christians that are elderly mentors for Freda/Ed. Freda
wished their marriage was similar to the love this elderly couple shared. (3)Keith was my first
love that I met during my first year in college. (4) Eugene was the brother-in-law of the family-

 

 

Audrey's first boyfriend. (5)Greg is an attorney/old classmate, Freda meets at a political party,
who advises her not to become involved with Ed.(6)Triumph Spitfire was (property) a car owned
by Ed. (7)Fred was a friend I met in college that had a mouth full of wires. In the book, (8)
Robert was introduced to Freda as Vanessa's date. (9)Michael is a friend of young "Deuce" that
he meet at DSS, who wanted to escape from the place. (10)Michael (2) was an old college friend
that wore a mouth full of braces. (11)Henry was my high school friend that tricked us into
drinking on our senior cruise. (12)Raymond was an elderly boyfriend that took Freda on a brief
trip to Washington, D.C. (13)Keith was Freda's parttime boyfriend that was in the military during
her first year in college. Andrea was one of Freda best friends in college. (14)Roselyn was a
woman that Freda met in shelter after her husband physically beat and abused her. (15)Carla
was the white woman that Ed had an affair with that allowed him to rent at the apartment
complex she managed. (16)Dan was a white guy that was a good-looking gay friend of her
brother, Li. (17) Carlos was Cousin Bertha old love. (18) Casey was Freda's pet cat. (19) Larry
is Monica's husband, they become close couple friends of Ed/Freda. (20)Marvin was Ed's older
brother and very close to Freda (she often confided in him). (21) Happy David Nelson was
Freda's best friend, confidant, and advisor. (22)Shari was a college friend that introduced Freda's
to the Omega Q-dogs. (23) Alex in the original copy is Ed's gay friend that passes away due to
Aids. (24) Kim is Freda's best friend that she is on cruise ship headed to the Bahamas. (25)
Lorraine is Freda's Great Dane. In the original copy. (26) Anna "Karenina" referring to the
suicide of Freda's mother's cousins on the train track. (27) Melissa, one of Freda's associates at
the homeless shelters. (28) Greenleaf, restaurant owned by Freda's father, Jasper.

B. Setting

26. The setting of the Defendants’ Greenleaf is identical to that of Plaintiff's “From the
Greenleaf to Greener Pastures”. Both shows are dramas that take place in the South and

8
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 7 of 23

 

 
 

[Type here]
9

center around a powerful, African-American family and their sprawling involvement with
God/church. Both the show/memoir, “From the Greenleaf to Greener Pastures,” portrays
how “mere human beings rely on the church to motivate them to succumb to God, in the
midst of all their trials/tribulation. trials/tribulations. All their lives and life experiences are
surrounded by the affiliation of church/God. In accordance with family, friends, and their
relatives who are intertwined in the African American community. Both the show/novel
begin with reference to the death of a beloved family member that drowns in the pond.

C. Similar Dialogue, Common Themes, Plot/Sequence of Events, Mood/Pace:
26. Following is an episode listing of the plot lines, characters and sequences of
events, that will pinpoint substantial evidence of plagiarism and direct inference of
mirroring, works by the Plaintiffs Day’s artistic/creative talents.

Episode 1: “A Time to Heal”

1.*(28:58) The café/restaurant was operated by a family members of the Greenleaf family,
throughout the day by the Pastor's sister, Marvis. Naturally it is characterized as a Greenleaf
entity in which her older brother owned the property/responsible for overseeing it.

 

 

I1.*(5:08)This Greenleaf family was wealthy, who lived a life of opulence portrayed when Grace
returns home to the huge mansion with servants, and other signs of grandiose lifestyle.

IIL. (2:04) The scenery of this pristine lake surrounded with the sun’s setting, as Grace and her
daughter pass by in the car being driven by the chauffeur. Prior to Grace's arrival at the house.
Grace ask the chauffeur to stop the car, and she gets out in front of the lake. Her daughter,
Sophia asks her mother if this is where it all happened to Aunt Faith is has first been introduced?
Grace lost her sister due to the drowning at the lake, that everyone wants to implicate was
brought on by a suicide. Epis. 1, (7:50) They start chanting the 23rd Psalm around the cemetery,
"the Lord is my shepherd, I shall not want). The next line>>He “maketh” me lie down in "green
pastures," seems to be intentionally omitted.

IV. (4:51) Grace is first depicted as being offered a job as a Journalist with the program 20/20.
while in the limo taking her home.

V. (6:17) When Grace meets her father (Pastor, symbolic of God/church) on the front porch; he
states, “that time heals all things,” which is a direct inference of my second chapter.

VI. (5:45) Bishop James hugs Grace, calling her the "prodigal daughter”. Also, she was
depicted as the minister's daughter.

VII. * (9:57) Bishop James discusses at the dinner table the trip to see the Senator in
Washington.

VII. (8:45) Grace is talking with her Aunt Mavis, Sophia's great, great Aunt, who initiates
the stories behind of the Greenleaf heritage.

IX. _ The physical stature of Noah in (episode 1(3:06) is identical to that of Ed Davidson.

Xx. (8:10 - 8:49), Aunt Mavis says, 'they didn't have the heart to think what happened in

the first place."
9
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 8 of 23

 
 

[Type here]

10

XI. (9:00) Aunt Mavis asks Grace to steal one of her daddy's car's and come over to the
tavern/restaurant-club to talk with her.

XI. (17:12-18:04) The oldest daughter, Kerrisse, is revealed as the school Principal of a
while being first lady of Triumph Church, and very devoted to her faith.

XII. The loving couple, Noah & Isabel scheduled their wedding day in April.

XIV. (17:20) At the dinner table, Grace calls out her controlling mother (matriarch) as
giving "Faith" away(the daughter that killed herself in the pond). Both of them
quarrel as Grace contends that her mother wasn’t a “fit parent who gave her daughter
away to Uncle Mac, which ultimately led to her demise/death.

[The * shows the exact place in the “Greenleaf” CD where the incident took
place.] .

This is depicted in the book:

L Jasper Lawson opened a café/restaurant/bar called the Greenleaf" during the
early forties. He ran the club which employed, Aunt Francis’s niece, Rhudine,
bore Jasper (4) daughters, and (6) sons reared up in the Catholic Faith, pg. 25.

Il. (08) Bottom of P.14, "As the years passed the Lawson's moved into their dream

 

 

home. Many persons from his own neighborhood, claimed he lived, "high on
the horse." top of page 15, "Often they would host large parties at their home
during the holidays.

II. ‘In the book, (pg. 37) The author's grandmother drowns in a similarly shaped
lake about a mile up from their wealthy farmland. In the original CD, the author
denote that words from some relatives indicated that they thought she
committed suicide. The book talks about the green pastures of corn stalks to
find their grandmother. The title of the book "From the Green Leaf to Greener
Pastures." Similarly the Freda Davidson, the character that tries to search in her
heart in hopes of finding God, also lost her sister, and is deemed the first girl to
live. pgs. (20-21). The story is entirely scriptural/composed of titles/chapters
that reference Psalm 23, "my cup ‘runneth’ over," p.260, and "greener pastures,
"though art with me."

IV. Freda Davidson, age 20, is an aspiring journalist. Her first interview is with this
group, (pgs. 45-46) she worked as an internship in Broadcast Journalism. Her
second reflection as an aspiring journalist is with the Dean at the College of
Journalism. (p. 208)

V. The character, Freda after nearly 20 years of trials/tribulations, (11i-Preface of
book) she seeks out her father, GOD, who guides her and uses her a as witness
to how he can change her life, and make her unrelenting battles less threatening
to her physical well-being/mental state. In the book, Chapter 2, pgs. 22-23;
entitled, "Time Heals all Wounds”.

10
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 9 of 23
(Type here]
11

VI. ‘The novel accentuates a common theme, of Freda as the “prodigal” daughter,

and mentions another "minister's daughter" is referenced in paragraph 6, pg.
157.

VII. Ed, the future politician returns from his trip to Washington, pg. 106. Also on
pgs. 158-162. Ed also mentioned he was going to gather some help for his
campaigning in Washington. In the book, much has been mentioned of trips to
Washington.

VIII. In the book, Freda writes about her mother, “Rhudine”. She had a great "Aunt
Francis,” pgs. 4-9.

IX. In the book, Freda's first love, Ed Davidson is the exact replica of Noah’s (TV
character). Being described as tall, debonair, with a beard, and moustache. He
also has a lot of lawyer friends, and thinks he can practice law, but wants to
enter politics. p. 96, 5th paragraph, " to my surprise, Ed was casually dressed
this time. He still looked "drop dead" gorgeous.

 

 

X. In the memoir, pg. 126, "if he only had a heart." The writer characters this
statement, which was created from theme in the Wizard of Oz.

XI. Freda’s ploy in her early (20's) pg. 211, being arrested for accusations of
stealing a car to go see her first love, Ed Davidson. Also politics is being
introduced to the dining room table for dinner that evening in which that is how
she met Ed Davidson. Also another common theme of "a stolen car," p. 116.

 

 

XII. Original copy/CD, Chapter 2, Freda during her mid-twenties, speaks of her
oldest sister that is a devout Catholic and Principal at her school, Pg. 138. Her
sister Helen, and her mother, Rhudine both aspired to become teachers, pgs. 11-
15.

XIII. Ed and Freda’s wedding in the novel was on April 16".

XIV. Inthe book, pgs. 32-33; Freda's baby sister, Thelma quarrels with her mother,
saying that she mistreated her sister, so she ran away to Atlanta. There she lived
with an abusive husband. At the bottom of page 32. Also Freda recalled how
Ethel seemed to be her least favorite child, pgs. 34-35. Thelma & Ethel got into
a scuffle, thus; Thelma stabbed Ethel so deeply; but Momma refused to take her
to the hospital. Top of pg. 35, Momma would give everybody money to buy ice
cream but Ethel.

Episode 2: “The Baptism”

11
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 10 of 23

 
[Type here]

12

IV.

Il.

IL.

TH.

(3:13) & Epis. 3/ 21:36. Noah's has been introduced as Grace's old boyfriend
(first love), who became engaged to Isabel. In the forthcoming episodes, Jacob &
Kerisse (Ed/Freda's marriage in their 30s.) Charity & Kevin (Freda/Ed marriage
with issues of homosexuality).
Grace shares some confidential information with Trigger Happy David Nelson
leading to their bonding as friends/spiritual advisor.
(20:44), Zora attends a Christian affiliated private school called "Black
Excellence," that practices and sets a foundation for promoting good morals
among the students based upon the teachings of Christ.

(13:09) Jacob/his affair with the white office assistant.

This is depicted in the book:

Throughout the entire book, Freda and Ed's storyline is being depicted, along with
their life challenges. The couples, Kerisse & Jacob (Freda & Ed marriage). Charity &
Kevin (Freda's courtship with Ed, later married.)

Chapter 3, p.43, Freda, best male friend, was David Nelson, called, “Happy”. Sh

 

Til.

IV.

considered him a profound confidant and advisor.

Ashlee the child of Ed/Freda, was forced to attend, what is described as a "Catholic
Convent" school structure due to her poor grades/behavior. It is called "Blythewood
Academy". Pg. 400. Also the recurring theme on pg. 15, with Jasper sending Helen
off to a private Catholic School.

Ed had this affair with Carla, the white tenant, who Freda suspected something went
wrong in their relationship, so she put him out of the townhouse without explanation.
pgs. 253-254

Episode 3: “Who Shall See Him As He Is”

I. (19:31) Bishop James describes the incessant greed of Bob Banks in the
political realm. He discusses how he let the Blacks down whom he fought
for, and didn't fight hard enough for the Whites. Bishop James declares,
“He ended up vying for a seat at a table that Jesus Christ would have
overturned in a fit of rage. In short, in a search for his earthly power He
distanced himself from his race and his religion, and I'm guessing his own
soul. And he won't be happy until everybody else does the same.”

Il. (35:28) Kevin appears to be attracted to a good-looking white gay male
that he hired to work at the homeless shelter for single women at Calvary.

II. (13:25) Kerisse and Jacob having dinner with an older couples (the
Williams) that considered helping Jacob move up the ladder in the church.
This elderly couple's love for each other, instantly helps Kerisse/Jacob
recognize how their marriage has taken a toll for the worse. Kerisse cries
because she wishes their marriage could be as loving as the Williams. An

12
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 11 of 23

 

 

 

 
 

[Type here]
13_

elderly couple that would boost his morale, as she continued to stand by
her man.

IV. (4:06) Kevin mentions how he and his mother were homeless when their
father left them.

V. (6:50) Kevin takes his wife, Charity to a gay club, sings "karaoke," style,
as two drinks are sent over to his wife's table by this gay couple. After
they watch him serenades her with "Mon Cherie Amour," a song by Stevie
Wonder."

VI. (3:07), Lady Mae talks about the good in bad people while referencing the
"Wizard of Oz." On top of that she wearing this large heart shaped
necklace as she enters the room.

VII. (14:52) Oprah reprimands one of her employees that's been stealing
money from her. She questions him ,"so if this was a Millionaire, I would
ask you if this was your final answer? She posed the question in regards to
getting a truthful response about stealing the money.

This is depicted in the book:

 

I. Ed talks about all he ever knew was aspiration to fight and protests for the
rights of many individuals that he marched/protested for so that could
keep their jobs in county/city government, pg. 108 (4th paragraph. He
believed that the people let him down. He'd been an active NAACP
President since he was 17. Furthermore on pgs. 130-132, Ed Davidson
was known as a reputable candidate for city/county council. He describes
how he had so many people that he'd protested to get their jobs back for
them, and how he marched for their own civil rights, still these people
never came through for him at the polls. But he was so desperate to
become a successful politician, he never knew when to give it up.

Il. Both of my brothers are dating white males. Danny is a white, blue-eyed
young man with a Colgate smile, who was characterized as the gay lover
of Freda's brother, Li. pgs. 53-57.

Ii]. | Ed and Freda Davidson, both in their 30's needed a little guidance from an
elderly couple, Dr. Williams and Mrs. Williams (role models who deeply -
loved each other) and were mentors for Freda/Ed, page 282 (bottom
paragraph). They would help Ed in boosting his political aspirations.
Freda attempted to stand firm, and push him through all their financial and
marital woes, atthe time, as she was trying to bring up their teen daughter,
Ashlee and son, Deuce.

IV. _ Freda’s husband on two occasions abandons them; thus, they are forced to
go live in a homeless shelter, pgs. 260-262. The first time they are rescued
by a young man, who happens to spot Freda just walking. The second
time, they are evicted, and Ed leaves her alone to fend for herself, with the
two small children. ,

13
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 12 of 23

 
[Type here]

14

V. (32)In original draft, CD, Freda talks about her first visit to a gay club
with Ed, along with his brother, and his brother's girlfriend. It was a wild
night. At Ed/ Freda's wedding, her best friend serenaded them with
"There's A Ribbon in the Sky," by Stevie Wonder (pg. 217). Also, Freda
began to have suspicions about Ed being gay, due to all the gay people in
the wedding party. Many of them were long term friends of Ed's. The
thought was also insinuated by her mother, and brother, Charlie.

VI. ‘In the chapter entitled, If He Only Had A Heart,” a (Wizard of Oz, pun), p.
126 , on page 134, I introduce a character name Dorothy. The author
discusses why bad things happen to good people.

VII. Freda talks about her desire to write Oprah Winfrey who has millions of
dollars. pg. 252.

Episode 4: “Behind Closed Doors”
I. (35:40) Bishop James talks about life experiences are goes such much deeper

than cops vs civilians, "black experiences/lives are looked upon as meager
value. Bishop James frequently uses the words “mere mortals”.

 

Il.

(35:58) Bishop James preaches on how the controversy goes so much deeper than
cops-vs-civilians, the crisis today is the moments of life that black people live today
is still not understood by some people to be of the same substance and values as those
of other people.

This is depicted in the book:

I. In the book, many of lives devaluation in the life of Freda/Ed Davidson is
attributed to police involvement, whereas both parties were either arrested on
several occasions, or either were called to their home for domestic abuse, or
some form of police interaction that created the spiritual bonding for Freda to
call on God for help/assistance, when no mortal could be of any help. pgs.
177-179. The author also uses common words, “mere mortals”.

Il. In the book, the author exposes the days of protests, civil rights movements,
and how the Black Panther Party, were people actively involved in the
survival of the Black Christian Community, p. 48. Also, all the real life
experiences of Ed/Freda with marital woes in which the police witnessed
furniture being thrown all over the lawn. Channel Five News (the death of Dr.
Williams) p. 303. The murder of Ed's political ally, the demise of Ed's
political career, pgs. 329-330. In addition to the missing remains of Brenda,
and the killing of my coworker, p. 306. The book indicates the decline of a
black families that still deserve God's blessings, no matter what mishaps may
have occurred. Ed/Freda Davidson were still trying to make their lives
count/matter for their children's sake.

Episode 5: “Meaningful Survival”
I. (4:10) Jacob/Kerisse in therapy due to his extramarital affairs.

14
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 13 of 23

 
{Type here]
15

Il. (8:10), Kerisse, the oldest Greenleaf sister, who as a Principal finds herself so
stressed out about test scores, she instructed Isabelle to teach through the test just
to make the performance scores look good. Even though it isn't the ethical thing
to do.

Ill. | Bishop James is speaking with Connie, who self-proclaims her love for Calvary
Church, while he is insistent on her return as deacon for them; after attending for
over 40 years. However, Connie is wearing a rosary, which is representation of
Catholicism.

IV. (4:38) During therapy sessions, for what purposes this is in the script is confusing,
there is no validation, but Jacob says if his wife lets him go to Vegas, he will give
her the "HEISMAN" from (21:57) his father tells him all he ever talks about is his
glory days playing football. Jacob has been characterized in the "Greenleaf"
series. I guess the “so called” creator was trying to find a reason why Jacob
wasn't that interested in the ministry. But it is identical to the book's character of
Marcus.

 

V. (29:05) The death of the little boy in the hospital that had underwent so many
surgeries, and was just suffering.

VI. = (41:30) In the series, a doll or favorite toy of the ill little boy (Captain American Doll)
and a sign of security; the Russell’s dying son, by which they sent the Captain
America doll to Grace, to let her know that his fight for survival had ended with his
passing, or a form of an omen that transpired. Such was the case with Faith, and her
teddy bear, (41:27), Grace announces her plans to start a group for sexually abused
victims.

VII. (21:00), Jacob is asked to step down in which he is placed on a 90-day probationary
evaluation.

This is depicted in the book:

1. There exists a compilation of marital woes, experienced by Freda/Ed during their
marriage seek therapy, pgs. 263, 309. All due to his extramarital affairs, and lack
of commitment to his family, due to alcoholism, and the influence of outside
people.

Il. Freda's oldest sister Helen is a principal at a school, as well as a student school
teacher. pg. 215. Common theme of teaching as author devotes a chapter to her
cousin who has taught for over 30 years in Jasper County. In Book 2, the author
writes about the woes/stresses of maintaining good test scores/performance levels
to maintain a teaching job. Freda is a teacher whom has many years of teaching in
the public school system.

15
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 14 of 23

 

 
[Type here]
16

I. _. My book is scriptural with bible verses in every chapter. It also reflects the
Catholic scriptures, doctrines and beliefs for Catholics, which is the origin of
Freda’s family. Freda mentions church and God in every chapter.

IV. Marcus, who is this gridiron star athlete that wins the Heisman trophy, p. 80.

V. The tragic loss of Ed's little brother in a house fire (house fires are a common theme
inTV _ series/novel), pg. 127.

VI. ‘Freda has a voodoo doll she associates as a symbol of imminent danger or a threat to
one's existence, p. 335. A common theme among the shows/book were sexually
abused women, starting with Freda's mother, at any early age of 15, then her own
daughter, Ashlee at the age of 8. Pages 188-189. Freda was sexually harassed on a job
by an older man where she worked as a bookkeeper.

VII. ‘In the book, p.244, Freda is terminated before completing the ninety-day period
probationary period.
Episode 6: “Good Morning Calvary”

I. (00:45) Stacy is testifying about being molested at the age of 8, while her mom /sister
were in the home. (2:25). Then her crazed looking spouse of her children. He shows
up and screams for her to tell leave. Stacy struggles to continue with discussion,
rather testimony in the group as a surviving sex abused victim. Being threatening and

 

 

controlling, he has a history of beating her up. (Episode 5/21:47).Grace comestoher si

rescue. However they try to find an open shelter, all are full. Grace doesn't want her

to go back home.

Il. (26:30) Charity hires a guy musical director for Calvery. The guy reveals this to her
upfront.

Ill. (29:26) Stacy talks about growing up without a father, and finding herself in an
abusive relationship. Grace is uncomfortable due to the broken bond with her father.

IV. (42:00) Grace finally goes to the pulpit, bothered by her own sense of helplessness,
she turns to "Book of Job, chapter 3, verse 26: I have no peace, no quietness, and no
rest, only turmoil. This is a summation of (Grace’s life on the show)/(Freda’s life
story) Just like the old days, this storm will past(famous words in show).

V. (39:00) Carlton makes the statement, "those babies are going to be on the cover of
something, baby ebony, baby essence.”

This is depicted in the book:

I. Freda’s coworker at the hospital with while living with a controlling husband.
pgs. 305-307. Due to her well-kept secret of his mental illness, he was very
abusive towards her. She feels threatened and attempts to leave with her
children. She eventually goes to the house along with two friends to retain
valuable possessions. He shot her as she enters the front door, that instantly
kills her.

IL. In the original CD, Freda's husband, Ed, had been involved with two musical
directors in from the African American Church. She begins to question his
lack of loyalty. She ties their tumultuous marriage to the relationship he has
with these two gay church members.

16
Complaint

— Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 15 of 23

 
[Type here]

17

Ill. — Freda grows up without a father, and finds herself in an abusive relationship
with Ed Davidson, pgs. 22-25.

IV. The chapter “A Day in the Life of Job," pg. 355, is a parody of powerful
challenging life events that only through God is Freda able to sustain herself
and move forward, despite all the unrest/turmoil in her life. She experiences
the loss of her mother, a judge that orders her children to go to DSS, and her
family turning their back on her due to their hostility towards Ed. They offer
no sympathy for her helplessness in the marriage, who is now drinking
incessantly, using alcohol to drown out his problems. A day in the Life of
"Job," pg. 355 (from the bible. In the book, pgs. 283, 284-288. Freda/Ed is
constantly in the middle of police controversy due to their arguing, combative
situations. (Weathering the storm, this too shall pass.” Titles of chapters, pgs.
257, 312.

V. Freda’s mother would often boast about having being asked by Ebony

' Magazine during the late forties to appear on the cover. “I would love to just
be able to grace the pages of Ebony magazines. pg. 2 (third paragraph).

Episode 7: “One Train May Hide Another”

I. (1:26) As the train approaches, we find Mac (looking every bit in his late 50's)
sleeping in bed with a vulnerable 15-year old/his normal pattern for statutory rape
among teenagers.

Il. (1:12) Mac won the title, "Man of the Year. He's getting an award but he's not
proud of due to his corruptive nature.

III. (19:00) Mac sits mesmerized by a beautiful woman that he saw in this book, called
"Classic Portraits. He confides in this young woman he dreams about and later
seduces that this she reminds him of the woman in the book. (32:00 & 33:20)), he
thought about killing himself at a young age, after his mother was struck by a train.

This is depicted in the book:

I. Chapter 1, pgs. 15-16: Jasper sleeps with a fifteen year old (Rhudine) who is an
exact likeness of the girl in the TV series, she is fair-skinned, gorgeous hair, great
bones and very shapely. Her description is the book is identical to the young
lady in Episode 7. Jasper was in his late 40's during the time that he took
advantage of Freda's young mother.

I. Ed was elected PTA President for the year, pg. 333. Ed is performing a job with
the school system given his corruptive nature. Ed was scheduling ‘news’

‘interviews for his upcoming political endeavors. Also he is giving press
interviews as an acting campaign manager for his new client. (pg. 333)

Ill. In my original draft, CD, Freda’s mother told her about the story of one of her
mother’s Aunt Francis's cousin, who wandered out onto the train track, after a
lover's spat with a man, where she simply fell onto the train tracks and died. I

17
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 16 of 23

 
a

[Type here]

18

referred to it as “Anna Karenina scenario. They found her body just prior to the
train's arrival time.

Episode 8: “The Whole Book”

I. Lady Mae gives a whole repertoire on, “why bad things happen to good people?”

Il. (40:30) the death of David Nelson (Grace’s ally/friend, and church community
member) due to hypocrisy in politics in combination of that with the police system.

Il. (13:33) David Nelson controversy has stirred up hostility among church members and
police officials. David Nelson is killed by the victim's brother after Grace befriends
David. Since she knew him from her past, being that he was a church member.
Referred to as" trigger Happy David Nelson".

IV. (22:17) & Epis. 3 (00:43), Bishop James/Mac discuss their love for fishing, and the
fun they had when they last ate fish wrapped in bacon. Daniele admits how Mac,
while at the summer camp, would teach young girls how to fish as he sexually
molested them.

V. (7:33), the his audience is introduced to an array of bizarre tragedies with members of
the Calvary church community, charges against a group of Baltimore police officer
shootings are dropped. The charges against David Nelson are dismissed for the

 

murder of Kenny Collins. Black lives matters/church protests ariseinthe show. =

David Nelson decides to stay in Memphis at the insistence of Grace, he is killed in
front of the church, and all chaos unfolds Epis. 8(40:28). Even Lady Mae is hinting
at some fling between Bishop James/Marvis.

VI. (21:17) Zora and Sophia share the conversation about the woman who was a concubine
and the Levites, continues at 39:15. Really it has no inference to the show's plot at this
point.

VII. (23:04) Grace meets with Daniel, who confides about how Mac kept her mother
out of jail for writing bad checks. Then he brought them meals when they were broke.
He made sure she went to summer camp, in which he abused her; she became pregnant
and had an abortion.

VIN. (38:36) Lady Mae tells' Grace, “sometimes it doesn’t seem like you're going to be
satisfied until you burn this place down to the ground.” This is a common theme just
as it is in the book, “From the Greenleaf to Greener Pastures.”

IX. (36:07) & Epis. 13 (39:18) Lady still continues to treat Grace, like a step child, like
there wasn’t any love that ever existed between them. She isn’t sympathetic to Grace,
saying, "Now you know how I feel every day."

This is depicted in the book:

I. Why do bad things happen to good people? (p. 331). I don't know why bad things
happen to good people. One thing for sure I know that God doesn't let it happen,
he helps us get through it, p. 291, 6th paragraph.

Il. Channel five news- p. 303, the death of Dr. Williams (Freda’s mentor to help
change Ed’s lifestyle), and the murder of Ed's political ally, Ed's political career, p.

18
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 17 of 23

 

 

 
{Type here]

19

II.

Ill.

IV.

VI.

VIL.

VUI.

IX.

329-330, the missing remains of Brenda; the murder of Freda’s friend/coworker, p.
306.

David Nelson, is first denoted as "Freda's friend since childhood, called, “Happy”
pg. 41.

(Fishing is a common theme) Freda tells of how much their family would go to
Pawley’s Island to fish, and Deuce's desire to get a fishing pole; pg. 291. This is a
illustration of all the dialogue regarding the “fishing concept” is a common them in
“Greenleaf” series J. Freda tells how on their honeymoon, it was relaxing to watch
Ed fish (pg. 218 bottom page). ,

In the book, pages Ed holds a private campaign party which is _ broadcasted
in the news once a prominent local professor is killed, in which Ed publicly
announces it's a good friend of his which heightens Freda suspicions about his
homosexuality/infidelity, pg. 131. His friend was murdered which plays into
politics and church, since Ed was trying to obtain the popular votes from members
of the African American church community.

In the original copy/CD, the author uses the biblical usage for summarizing the
relationship between her father/mother. Freda mentions that her mother was
called a concubine, due to her father's philandering ways, in which she birthed

 

~ (11) children being that my Godmother (Catherine) was barren.

Common theme in my book where Freda is arrested or going to court for bad
checks that her husband, Ed, had written while on drugs/drinking. She never had
money for a lawyer. She also talks about contemplating the first abortion on
page. 133.
Freda's mom finds the house almost burned down, but with Freda's tenacity she
manages to put the fire out before the fire department arrives. Freda’s mother
comments, “why didn't you burn it down?” pgs. 146-147 bottom of page.
Several incidences of a house fires cited on these pgs. 126-127;
pg-141;pg.216;pg.274;pg. 390
Ethel's mistreatment/coldness from her mother. She was the only one that it
appeared as if “mother” didn’t love out of all the four daughters. pgs. 34-35
Episode 9: “The Broken Road”

(34:54) Steamy sexual relations between Noah/Grace; also trending among
Kerrisse/Jacob; Isabel/Noah. All due to a guilty conscious on each one of their
behalves.

(31:24) Isabel realizes that Noah slept with Grace and calls off the wedding.

This is depicted in the book:

I. Throughout the book, several steamy sexual encounters between
Ed/Freda, same chemistry; however, due to a guilt ridden situation, pg.
163.

19
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 18 of 23

 

 

 

 

 

 
[Type here]

20

I

I.

TH.

IV.

VI.
~ VIL

I.

IIL.

IV.

VI.

Il. Ed sleeps around on Freda with many woman and she gives him an
ultimatum after she finds out he's engaged to be married to a girl he met
on Pawley's Island. pg. 212

Episode 10: “March to the Sea”

(6:47) “Mac” Robert McCready, brother of Bishop James, is shot by him when the two
of them are alone.
(7:00) In this scenario, the church is infiltrated by the police/police and sinners march
in one by one.
(7:16) Jacob is doting/bonding with their young son while he’s having to understand
how to deal with an angry teen daughter. Kerrise comments, "I'll talk to her.
(12:50) Lady Mae is in jail. “Mac” Robert /Bishop goes to jail. Charity and Jacob are
asking, “Why is mom in jail”.
(17:55) Lady Mae announces, "a storm is about to befall this family, the kind of storm
that takes down away trees, and shuts down power, that washes away people, and
takes whole houses apart, but it's ust a storm, this too will pass."
(19:21 ) Kerisse graduated from Spelman
(30:30): Grace's old flame, Ray surfaces. He is also Sofia's father. —

This is depicted in the book:

Jasper’s brother Bunion, whom the both of them were very close, and engaged in
various forms of corruptness. Both brothers were womanizers whose fate was
destined. Unfortunately, their first real personal loss was the day his brother was put
on a stretcher after being shot in the head after being found in the back of Jasper’s
home. pg. 25
Every sinful act committed by these persons, has a negative consequence.
Ed/Freda, being arrested or taken to jail, interrogated by the police such Ed was in
the disappearance of Dr. Williams, or the death of others, or the missing of
Brenda, who turned away from her family after she lost her job. pgs. 300-309
Ed dotes on his son, Deuce while having to deal with a rebellious teen daughter,
Ashlee. Freda's is the only one that can smooth things over with their daughter so
that they can communicate. Ashlee and Ed's engage in several battles, pgs. 389,
409, 423.
As aresult of Ed’s unlawful practices, Freda ends up going to jail. Deuce asks,
“Why is my Momma going to jail?” pgs. 300-309
Chapter 18, p. 237,"Weathering the storm...240. & Chapter 25, "This too shall
pass." pg. 312. Ed's sister let us stay with them until Hurricane Hugo hit. Chapter
25 pg. 312; this too shall pass. The sky had clearly predicted a bad storm
approaching, or even an tornado. The author explains how we came through all
the tragedies, but the family’s lives were being ripped apart.
Freda reveals her aspiration to attend Spelman College.
20
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 19 of 23

 
[Type here]

21

VII.

One of Freda's old flames is Raymond. pgs. 121-124; 160-161

Episode 11: “Men Like Trees Walking”

11(36:01) & 2 (14:09) Lady Mae wants to speak on the virtuous woman on
woman's day. Lady Mae tells Bishop James, the tithes are low and people are
leaving the church like rats on a squeaky boat only because you are not of a right
relationship with God and me. Sophia's daughter's father wants custody,
animosity between Grace/father, misunderstanding heightens between father/son.
Jacobs wants to take on a job with the rivalry church, Triumph. Grace/Noah are
questioning their feelings for each other. Charity’s pregnancy makes her want to
come to her mother's rescue and less responsive to her husband's need. Jacob's
ex-fling, Alexa wants to sue for unfair termination. Kevin has a heart to heart talk
with the Caucasian gay guy at the church about his marriage. Lady Mae fires
Melisse for leaking information about the scandal at Calvary to the press agent.

Il. Jacob & Kerisse creates a new form of ministry in a church that developed called the
"Real Church," as he endures self-empowerment.

This is depicted in the book:

16

IL.

Chapter 31, pg. 379, “Patience is a Virtue.” Freda lashes out at Ed, saying, “he

needs to make his best friend, ‘the Lord’ (page 384). She informs him the
reason he’s loosing clients with his car detailing business is because you show
up at your place of business smelling like a ‘brewery’ (middle of page 384).
The chapter denotes how Freda lost her job after trying to conceal her
pregnancy. Tensions mount between father/daughter. Son and father turn on
each other, as Ed comes down hard on the children who are depressed, angry
with the fact that he continues to come in drunk and crazy. Freda was
beginning to believe the Saints in heaven were looking down on her when she
landed the job at Mercy Hospital. However she was later terminated without
any ‘just cause’ (pgs. 382-384). Freda had become the virtuous woman
despite all the blessings that had been bestowed upon the family. Ed/Freda,
both began to talk to each other in such an inhumane way. Freda's was
shouting, scandalous things to her husband, about his brother that died of
AIDS. He was saying demeaning things about her mother, who was never
married. Husba, Ashlee speaks up to defend her grandmother and he screams
to Freda, "she needs to drop that bastard baby," due to his anger/drunkenness.
Bottom of page 386, God has a way of showing people who's in control.
Freda/Ed worked together in the car detailing business to try to establish some
unity in their marriage/pay the bills. pg. 381. This happens after Ed complains
about the job he started cutting down “trees” for the state, p. 384. Freda talks
about being unemployed while Ed works a detailing business, pg. 370.

Episode 12: Veni, Vidi, Vici”

21
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 20 of 23

 

 
[Type here]
22

I. (6:23) Ray goes to court, in a battle over who gets custody of Sophia.
He tells the judge that he's has been clean and sober for eight years
now.

Il. Charity and Kevin have a heated argument due to his admission of

having developed an attraction for men. Their marriage is going
downhill as a result of all the controversy. She almost lost her twins
during an emotional breakdown.

II. 9) Episode 12 (5:27) Ray and Grace appear in court over a custody
battle for Sofia. Ray admits to being a recovering alcoholic that has

_ been sober for over 8 years.

TV. Aunt Mavis Greenleaf may lose the bar/restaurant that she has been
operating.

V. (5:50) Kerrise & Jacob are living in anew home in the dark, because
they don't have any money for rewiring, living in this crisis with little
money, and the desire to "rob Peter to pay Paul”. Kerisse urges Jacob
to find another job other than on Sunday at Triumph. Jacob defends
himself in saying he can finally be the provider of the home. She
needs patience with the Lord.

This is depicted in the book:

I. Freda takes Ed to court for separation/custody of the children. p. 290.
"The Onset of my Worst Fears," was the second court custody battle
between Ed/Freda, page (369).

Il. Freda has a miscarriage, pg. 379. Most of the insults/innuendos about
Ed being gay was the reason for many of their fights, pg. 232. Freda’s
mother refers to him as a "faggot". Ed would continue to bring his gay
friends around before/after marriage, pgs. 131-132.

If. | Freda/Ed court battle over the custody of their children. Freda tells
him about his alcohol/drug abuse for the past 9 years, pgs. 369-370.

IV. (91) Jasper's “Greenleaf” cafe was closed due to tax invasion, pg. 26.

V. (93) Ed/Freda were constantly living in the dark due to inability to pay
light bills, Ed's not finding a suitable job, and the children were
deprived as a result of it. Common theme throughout the book, pgs.
396, 224, 230, 239,311, 384, 309, pgs. 126-127, & 108.

Episode 13: What Are We Doing Here?

I. (19:50) Mavis has lost ownership of the Greenleaf.
IL. (36:05) Charity & Kevin decide to work throughout their marriage
despite his gay tendencies.

This is depicted in the book:

I. Jasper's Greenleaf was closed due to tax invasion, pg. 26.

22
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 21 of 23

 
23

27.

28.

- Reserved, ISBN no. 1-59405-042-2. ne ene
29.

30.

31.

32.

[Type here]

Il. Ed/Freda remain married despite these suspicions of his sexual presence,
pg. 215, "Til Death Do Us Part.”
Season IT:

1. Episode 14(00.25) The city of Charlotte (my current home state) is being
depicted, since Lionel needed to travel there.

This is depicted in book:

I. Ed/Freda, along with family moves to Charlotte to start a new life, 462,
475, 491-492.

VI. FIRST CLAIM FOR RELIEF
Plaintiff reallege and incorporate by reference each and every allegation
contained inparagraphs | through 26 as though fully set forth herein.

Plaintiff are the legal and beneficial owner of the United States copyright for the
treatment for the treatment, “From the Green Leaf to Greener Pastures, which was
registered with the United States Library of Congress on April 3, 2003 (Registration no.
TXu001093123,” and created in the year, 1999. In addition, the book was published by
New Age World Publishing, Drinking Gourd | Imprints (Press) 2005 @AIl Rights

Defendants, and each of them, have directly contributorily and/or vicariously
infringed upon Plaintiff's copyright through their copying, reproduction, distribution,
performance, display, publication, creation, broadcast, selling, licensing, and other
exploitation of Plaintiff Day’s copyrighted materials through their incorporation of it in
the show Greenleaf. Moreover, Defendants, and each of them continue to copy display,
distribute, reproduce, perform, publish, create, broadcast, sell license, and exploit said
work, infringing upon Plaintiff’s intellectual property rights, to this day.

Defendants’ infringement has allowed them to colléct profits directly from the
unauthorized usage and incorporation of Plaintiffs’ treatment and corresponding
intellectual property. In addition, Defendants’ actions have prevented Plaintiffs from
exploiting their own work and copyrighted material as Defendants have completely
monopolized and arrogated Plaintiffs’ material as their. own leaving no marketplace to
which they could do so independently.

Defendants, and each of them have done so willfully, intentionally or at the very
least recklessly in disregard of Plaintiff's rights. Defendants and each of them were
specifically aware that the property emanated from Plaintiff, or yet acted in reckless
disregard of discovering the same, when they used the treatment and related materials to
create, , produce, and exploit their own TV show, Greenleaf.

As aresult of Defendants’ infringement of Plaintiff's copyright, Plaintiffs are
entitled to an election of damages in the form of either (1) actual damages and any
profits of Defendants or, in the alternative, (2)statutory damages, including attorneys’
fees, to the extent that said infringement is found to have occurred from pre-
infringement registered materials. .

23
Complaint

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 22 of 23

 
 

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for relief as follows:

1. Actual, general and compensatory damages for copyright
infringement, statutory damages under 17. U.S. C. section 504 (b)
or in the alternative statutory damages under 17 U.S. C. section
504 (c) in the amount of $150,000 for each act of infringement.

2. A permanent injunction preventing defendants’ and each of their
agents, employees, licensees, partners, officers, attorneys, assigns,
and any other person/entity working in concert or participation
with Defendants from further distributing, marketing, selling,
copying, publishing, licensing, broadcasting and participating in
the infringement of Plaintiff's rights protected by the Copyright
Act pursuant to Plaintiffs copyright infringement claim (first
claim for relief herein);

3. Prejudgment interest at the maximum legal rate;

4. All other further relief as the Court may deem appropriate in the
interest of justice.

Dan Coa
BY: , daN ,- eal,
—~— Freda ibay (\ (\

Case 3:19-cv-00277-MOC-DCK Document1 Filed 06/14/19 Page 23 of 23

 
